This action involves the validity of a deed claimed to have been executed by J.M. Hood in his lifetime to Georgiene Ruth Carey, his granddaughter. The case is essentially similar in its facts and in the law applicable thereto to Rice v. Carey (Sac. No. 2145), ante, p. 748, [151 P. 135], just decided. Here, as there, the judgment went in favor of the plaintiffs and the defendant appeals.
For the reasons stated in the decision just referred to, the action of the superior court in the case at bar must be upheld.
The judgment is affirmed.
Shaw, J., Melvin, J., Lorigan, J., Henshaw, J., Lawlor, J., and Angellotti, C.J., concurred. *Page 805 